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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

ROBERT COOK,
          Plaintiff,                                      : Case No. 3:20-cv-00139-AVC

                  -against-

LIFE INSURANCE COMPANY OF NORTH                              February 26, 2020
AMERICA; CIGNA CORPORATION
           Defendants.


                              Rule 7.1 Corporate Disclosure Statement

        The defendant, Life Insurance Company of North America("LINA"), hereby makes the

following disclosure pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule of Civil

Procedure 7.1:

        LINA is a wholly owned subsidiary of Connecticut General Corporation, which is a

wholly owned subsidiary of Cigna Holdings, Inc., which is a wholly owned subsidiary of Cigna

Holding Company, which is a wholly owned subsidiary of Cigna Corporation. The shares of

Cigna Corporation are publicly traded.

         There is no publicly traded corporation that owns 10% or more stock in Cigna

Corporation.

                                                 DEFENDANT,
                                                 LIFE INSURANCE COMPANY OF
                                                 NORTH AMERICA
                                                 By: /s/Patrick W. Beggs
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                                       CERTIFICATION

       I hereby certify that on February 26, 2020, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the court's electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the court's CM/ECF System.

                                                     /s/ Patrick W Begos




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